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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF IOWA

                                                                                 RECEIVED
UNITED STATES OF AMERICA,                    )
                                             )                                        OCT 1 92009
                           Plaintiff,        )                                   CLERK U.S. DISTRICT COURT
                                             )                                   SOUTHERN DISTRICT OF IOWA
vs.                                          )         Case No. 3:09-cr-000081
                                             )
                                             )
STACEY LYNN SHANAHAN,                        )
                                             )
                           Defendant.        )

      REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY


       The United States of America and the defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The defendant

entered a plea of guilty to Count                of the Indictment. After cautioning and examining

the defendant under oath concerning each of the subjects mentioned in Rule 11, I determined that

the guilty plea was knowing and voluntary as to each count, and that the offenses charged is

supported by an independent factual basis concerning each of the essential elements of such

offense. I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence

investigation and report be prepared, and that the defendant be adjudged guilty and have sentence

imposed accordingly.




      W, \~ \t; lAJoo, ;
                           J

Date                                                THOMAS
                                                    UNITED                 GISTRATE JUDGE


                                             NOTICE

       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(1)(B).
